     Case
     Case 2:13-cv-06009-CJB-JCW Document
          1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                            07/01/13   10/07/13
                                                            1 of 10Page 1 of#:267
                                                                    PageID      1



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

JBS Packing Company, et al.,

                Plaintiffs,                                 1:13-cv-435
                                                  CASE NO. _______

v.                                                On removal from the 136th District Court of
                                                  Jefferson County, Texas: Case No. D194-272.
BP Exploration & Production, Inc., BP
America Production Company, BP
Corporation North America, Inc., BP p.l.c.,
Transocean Offshore Deepwater Drilling, Inc.,
Transocean Holdings, LLC, Transocean
Deepwater, Inc., Transocean Ltd., Triton Asset
Leasing GmbH, Halliburton Energy Services,
and Sperry Drilling Services,

                Defendants.

     BP’S NOTICE OF REMOVAL TO THE UNITED STATES DISTRICT COURT FOR
                      THE EASTERN DISTRICT OF TEXAS

        Pursuant to 33 U.S.C. § 2717(b), 28 U.S.C. §§ 1331, 1333, 1441, 1446 and 43 U.S.C. §

1349, Defendants BP Exploration & Production Inc., BP America Production Company and BP

Corporation North America Inc. (“BP”), hereby give notice and remove this case to the United

States District Court for the Eastern District of Texas, Beaumont Division.

        BP represents the following in accordance with the requirement of 28 U.S.C. § 1446(a)

for a “short and plain statement of the grounds for removal”:

Background and Procedural Requirements

1.      BP is a defendant in the matter styled “JBS Packing Company, et al. v. BP Exploration &

        Production, Inc., BP America Production Company, BP Corporation North America,

        Inc., BP p.l.c., Transocean Offshore Deepwater Drilling, Inc., Transocean Holdings,

        LLC, Transocean Deepwater, Inc., Transocean Ltd., Triton Asset Leasing GmbH,




HOU:3330450.1
     Case
     Case 2:13-cv-06009-CJB-JCW Document
          1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                            07/01/13   10/07/13
                                                            2 of 10Page 2 of#:267
                                                                    PageID      2



        Halliburton Energy Services, and Sperry Drilling Services,” pending in the 136th District

        Court of Jefferson County, Texas, and bearing Case No. D194-272 (“State Court

        Action”).

2.      Plaintiffs filed their Original Petition (“Petition”) in the State Court Action on April 19,

        2013.

3.      BP was served with process in the State Court Action on May 31, 2013.

4.      This Notice of Removal is timely filed, as it is being filed within thirty days after receipt

        of the initial pleading setting forth the claims for relief and within thirty days of service

        of process as required by 28 U.S.C. § 1446(b), as computed pursuant to Fed. R. Civ. P.

        6(a).

5.      Pursuant to 28 U.S.C. § 1446(a), BP attaches as Exhibits A-E hereto a copy of all

        process, pleadings and orders served on BP in the State Court Action.

This Court Has Jurisdiction Under the Oil Pollution Act of 1990.

6.      Plaintiffs’ Petition states a claim under the federal Oil Pollution Act of 1990, 33 U.S.C. §

        2701, et seq. (“OPA”). Pet. ¶¶ 101-11.

7.      The OPA-covered injuries for which Plaintiff seeks compensation include “loss of profits

        or impairment of earning capacity,” id. ¶ 109 (citing 33 U.S.C. § 2702(b)(2)(E)), “loss of

        subsistence use of natural resources,” id. ¶ 108 (citing 33 U.S.C. § 2702(b)(2)(C)), and

        “[d]amages for injury to, or economic losses resulting from destruction of, real or

        personal property,” id. ¶ 107 (citing 33 U.S.C. § 2702(b)(2)(B)). As Plaintiffs point out,

        a responsible party under OPA is liable for the removal costs and damages specified 33

        U.S.C. § 2702(b). Id. ¶ 102.




                                                 2
HOU:3330450.1
     Case
     Case 2:13-cv-06009-CJB-JCW Document
          1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                            07/01/13   10/07/13
                                                            3 of 10Page 3 of#:267
                                                                    PageID      3



8.      With two exceptions not applicable to the current case, OPA states that “the United States

        district courts shall have exclusive original jurisdiction over all controversies arising

        under this Act . . . .” 33 U.S.C. § 2717(b). By alleging claims under OPA, Plaintiffs’

        case falls within the jurisdiction of this Court.

9.      Additionally, because OPA creates a cause of action arising under federal law, there is

        also jurisdiction over this case pursuant to 28 U.S.C. § 1331.

Original Federal Jurisdiction Exists Over the Petition Pursuant to OCSLA and the Federal
Question Statute.

10.     The next two grounds for removing the State Court Action to this Court relate to the fact

        that this lawsuit arises in connection with the Deepwater Horizon’s drilling operations

        occurring on the Outer Continental Shelf (“OCS” or “the Shelf”). Two jurisdictional

        consequences follow as a result:         First, the State Court Action falls within the

        jurisdictional grant of the federal Outer Continental Shelf Lands Act (“OCSLA”), 43

        U.S.C. § 1331, et seq. Second, the OCS is a federal enclave, meaning that all cases

        arising from events on the Shelf arise under federal law.

11.     Plaintiffs’ Petition states that they are “owners’ [sic] lessors, lessees, and/or operators of

        real property at or near the coast of the Gulf of Mexico and/or businesses or employees of

        businesses that are dependent upon the Gulf of Mexico’s marine and coastal

        environments . . . .” Pet. ¶ 62. As such, they maintain that “Defendants owed and

        breached duties of ordinary and reasonable care to Plaintiffs in connection with the

        drilling operations of the Deepwater Horizon . . . .” Id. ¶ 60; see also id. ¶ 65 (asserting

        that BP and the other defendants were obliged to “exercise reasonable care while

        participating in drilling operations on the Deepwater Horizon”). Plaintiffs note that the

        Deepwater Horizon was “owned by Transocean” and leased to BP “for the purposes of


                                                   3
HOU:3330450.1
   Case
   Case 2:13-cv-06009-CJB-JCW Document
        1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                          07/01/13   10/07/13
                                                          4 of 10Page 4 of#:267
                                                                  PageID      4



        drilling an exploratory well at the Macondo site.” Id. ¶ 29. Plaintiffs also note that BP

        held a permit from the Minerals Management Service “allowing it to perform oil

        exploration, drilling, and production-related operations in Mississippi Canyon Block 252,

        the location known as ‘Macondo,’ where the spill originated.” Id. ¶ 4.

12.     Plaintiffs’ Petition is remarkably light on details regarding their alleged injuries, except

        that the OPA allegations reveal that any injuries allegedly arise from the Deepwater

        Horizon oil spill. See, e.g., id. ¶ 106 (“As a result of the Spill, Plaintiffs have not been

        able to use natural resources.”).

13.     Plaintiffs’ Petition alleges that BP acted negligently in “choosing and implementing a . . .

        long string well design,” id. ¶ 79(a), “using too few centralizers,” id. ¶ 79(c), “failing to

        implement a full ‘bottoms up’ circulation of mud,” id. ¶ 79(d), “cancelling the cement

        bond log test,” id. ¶ 79(f), and “failing to deploy the casing hanger lockdown sleeve,” id.

        ¶ 79(g); see also id. ¶¶ 95-100 (listing additional alleged acts of negligence in connection

        with the Deepwater Horizon drilling operations).

14.     OCSLA Jurisdiction: This case is removable to this Court under the jurisdictional grant

        of the Outer Continental Shelf Lands Act (“OCSLA”), 43 U.S.C. § 1331, et seq. OCSLA

        provides, in relevant part, that “district courts of the United States shall have jurisdiction

        of cases and controversies arising out of, or in connection with (A) any operation

        conducted on the outer Continental Shelf which involves exploration, development, or

        production of the minerals, of the subsoil and seabed of the outer Continental Shelf, or

        which involves rights to such minerals.” 43 U.S.C. § 1349(b)(1) (emphasis added).




                                                  4
HOU:3330450.1
   Case
   Case 2:13-cv-06009-CJB-JCW Document
        1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                          07/01/13   10/07/13
                                                          5 of 10Page 5 of#:267
                                                                  PageID      5



15.     OCSLA defines “minerals” to include “oil, gas, sulphur, geopressured-geothermal and

        associated resources.” 43 U.S.C. § 1331(q). “Exploration” is the “process of searching

        for minerals, including . . . any drilling.” 43 U.S.C. § 1331(k).

16.     On April 20, 2010, the date the oil spill began, the Deepwater Horizon was in the Gulf of

        Mexico working at the Macondo well.           The Fifth Circuit recently noted that the

        Deepwater Horizon’s purpose was to “drill the Macondo well, which is located on the sea

        floor at Mississippi Canyon Block 252.” Center for Biological Diversity, Inc. v. BP Am.

        Prod. Co., 704 F.3d 413, 418 (5th Cir. 2013). These operations were part of BP’s

        “exploration and drilling operations in the Gulf of Mexico.” Id. The Northern District of

        Florida reached a similar conclusion: “[w]hen it exploded, the Deepwater Horizon was

        operating on the outer continental shelf. Its operations were part of the exploration for,

        and intended development and production of, continental-shelf oil.” Phillips v. BP p.l.c.,

        2010 WL 3257737, at *1 (N.D. Fla. Aug. 17, 2010). Likewise, the Southern District of

        Texas recently held that even lawsuits concerning securities filings which allegedly

        contained misrepresentations in connection with Shelf drilling activities fall within

        OCSLA’s broad grant of federal jurisdiction. See Memorandum & Order, In re: BP p.l.c.

        Securities Litigation, No. 4:10-md-2185, Rec. Doc. 441 (S.D. Tex. filed Oct. 1, 2012)

        (“MDL 2185”).

17.     The State Court Action thus “aris[es] out of” and “in connection with” a drilling

        operation on the outer Continental Shelf. Plaintiffs concede this point: “Defendants owed

        and breached duties of ordinary and reasonable care to Plaintiffs in connection with the

        drilling operations of the Deepwater Horizon.” Pet. ¶ 60 (emphasis added); see also id. ¶

        90. Beyond a verbatim repetition of OCSLA’s jurisdictional provision, the Petition



                                                  5
HOU:3330450.1
   Case
   Case 2:13-cv-06009-CJB-JCW Document
        1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                          07/01/13   10/07/13
                                                          6 of 10Page 6 of#:267
                                                                  PageID      6



        recognizes that the Deepwater Horizon was engaged in “oil exploration, drilling, and

        production-related operations” at the Macondo site. Pet. ¶ 4. Likewise, the litany of

        alleged acts of negligence relate to core mineral-exploration activities that occurred on

        the Shelf. See generally id. ¶ 79 (assigning negligence to various drilling activities,

        including the selection of a ‘long-string’ well design, the number of centralizers in the

        well, cancelation of the “cement bond log test,” and insufficient testing of the cement

        mixture). The Petition makes plain that this case arises out of and in connection with the

        oil exploration operations at the Macondo site. As a result, this Court has original subject

        matter jurisdiction under 43 U.S.C. § 1349(b)(1)(A).

18.     Federal Question Jurisdiction: This Court also has subject matter jurisdiction under 28

        U.S.C. § 1331 because the claims asserted arise in connection with a federal statute,

        namely, OCSLA, 43 U.S.C. § 1331 et seq. and OPA, 33 U.S.C. § 2701 et seq., and

        because claims involving federal enclaves like the outer Continental Shelf by their nature

        arise under federal law. Federal-question claims ordinarily are subject to the well-

        pleaded complaint rule, but cases involving federal enclaves unavoidably involve federal

        and not state law, regardless of whether a plaintiff invokes federal law on the face of the

        complaint. Moreover, even if this were not true, OCSLA claims are not subject to the

        well-pleaded complaint rule, pursuant to Fifth Circuit precedent. Amoco Production Co.

        v. Sea Robin Pipeline Co., 844 F.2d 1202, 1205 (5th Cir. 1988) (“In determining federal

        court jurisdiction, we need not traverse the Serbonian Bog of the well pleaded complaint

        rule . . . because § 23 of OCSLA expressly invests jurisdiction in the United States

        District Courts.”).




                                                 6
HOU:3330450.1
   Case
   Case 2:13-cv-06009-CJB-JCW Document
        1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                          07/01/13   10/07/13
                                                          7 of 10Page 7 of#:267
                                                                  PageID      7



19.     OCSLA not only provides that federal courts have original jurisdiction over all cases

        arising out of Shelf operations, it also directly specifies that federal law governs as a

        substantive matter. See 43 U.S.C. § 1333(a)(1). Hence, federal question jurisdiction

        under 28 U.S.C. § 1331 inherently and unavoidably exists over claims that arise out of

        Shelf conduct without regard to claims made by plaintiffs that a source of law other than

        federal law, such as state or maritime law, controls.

20.     Plaintiffs’ claims “arise under” federal law for purposes of removal under 28 U.S.C. §

        1441(c) because OCSLA establishes a federal enclave on the Shelf. Claims arising out of

        conduct within federal enclaves necessarily arise under federal law.

Maritime Claims Are No Obstacle To Removal; to the Contrary, They Provide Yet
Another Basis for Removal Jurisdiction.

21.     Plaintiffs assert that their claims include “admiralty and maritime claims arising from the

        savings to suitors clause contained in 28 U.S.C. § 1333.” Pet. ¶ 24. The maritime nature

        of their claims is one of Plaintiffs’ proffered bases for state court jurisdiction. Id.

22.     While maritime law was once an argument against federal jurisdiction, the jurisdictional

        landscape changed dramatically on January 6, 2012, the effective date of the Federal

        Courts Jurisdiction and Venue Clarification Act of 2011 (the “Clarification Act”).

        Among its provisions, the Clarification Act altered 28 U.S.C. § 1441 to clarify that

        diversity of citizenship is a prerequisite to removal only where the federal courts would

        not otherwise have original jurisdiction. Compare 28 U.S.C. § 1441(b) (pre-2011) with

        28 U.S.C. § 1441(b) (2011). The statute’s previous language had led the Supreme Court

        and the Fifth Circuit to declare that Section 1441(b) was a bar to the removal of maritime

        claims. Romero v. Int’l Terminal Operating Co., 358 U.S. 354 (1959), Morris v. T.E.

        Marine Corp., 344 F.3d 439 (5th Cir. 2003). As the Southern District of Texas has held


                                                   7
HOU:3330450.1
   Case
   Case 2:13-cv-06009-CJB-JCW Document
        1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                          07/01/13   10/07/13
                                                          8 of 10Page 8 of#:267
                                                                  PageID      8



        in two recent decisions, that bar is now removed. Wells v. Abe’s Boat Rentals Inc., No.

        H-13-1112, 2013 WL 3110322 (S.D. Tex. June 18, 2013); Ryan v. Hercules Offshore,

        Inc., No. H-12-3510, 2013 WL 1967315 (S.D. Tex. May 13, 2013). Federal courts

        undoubtedly have original jurisdiction over maritime cases, 28 U.S.C. § 1333(1), and the

        saving-to-suitors clause has itself never been a bar to removal. Id. *1; see also Tenn. Gas

        Pipeline v. Houston Cas. Ins. Co., 87 F.3d 150, 153 (5th Cir. 1996) (noting that the

        saving-to-suitors clause “does not guarantee [plaintiffs] a nonfederal forum”). Only

        Section 1441(b) was interpreted to prevent removal, and as Ryan explains, the

        Clarification Act has earned its name and removed all ambiguity in favor of permitting

        removal of maritime claims in accord with the plain terms of 28 U.S.C. § 1441(a), which

        are no longer impacted in non-diversity cases by the terms of current 28 U.S.C. §

        1441(b). Ryan, 2013 WL 1967315, at *4.

Venue and Removal Under 28 U.S.C. §§ 1441(a)

23.     Venue is proper in this Court pursuant to 28 U.S.C. § 1446(a), as the United States

        District Court for the Eastern District of Texas, Beaumont Division is the District and

        Division in which the State Court Action was pending.

24.     This matter is removable under 28 U.S.C. § 1441 as a civil action over which the United

        States District Court for the Eastern District of Texas has original subject matter

        jurisdiction under 43 U.S.C. § 1349, 33 U.S.C. § 2717(b), and 28 U.S.C. §§ 1331, 1333.

25.     Removal is timely, as this Notice is filed within 30 days of BP’s receipt of the Petition.

        See 28 U.S.C. § 1446(b)(2)(B) (“Each defendant shall have 30 days after receipt by or

        service on that defendant of the initial pleading or summons described in paragraph (1) to

        file the notice of removal.”).



                                                 8
HOU:3330450.1
   Case
   Case 2:13-cv-06009-CJB-JCW Document
        1:13-cv-00435-RC Document 1 Filed1-1   Filed Page
                                          07/01/13   10/07/13
                                                          9 of 10Page 9 of#:267
                                                                  PageID      9



Effectuation of Removal

26.     BP hereby removes this action to the United States District Court for the Eastern District

        of Texas, Beaumont Division.

27.     By filing this Notice of Removal, BP expressly consents to the removal.

28.     The consents of all other Defendants are attached as Exhibits F-G.

29.     Pursuant to 28 U.S.C. § 1446(a), copies of all pleadings, as well as copies of all process

        and other papers, including the Petition, on file in the record of the State Court Action

        which are within the possession, custody and control of BP are attached as Exhibits A-E.

30.     The allegations of this Notice were true at the time the State Court Action was

        commenced and remain true as of the date of filing of this Notice of Removal.

31.     Undersigned counsel certifies that a notice of filing removal, along with a copy of this

        Notice of Removal, will be promptly filed with the 136th District Court of Jefferson

        County, Texas.

        WHEREFORE, BP hereby removes this action to the United States District Court for the

Eastern District of Texas, Beaumont Division.

Dated July 1, 2013                           Respectfully submitted,

                                             By: s/Thomas W. Taylor
                                                  Thomas W. Taylor
Of Counsel:                                       Texas Bar No. 19723875
                                                  Georgia L. Lucier
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                                                    ATTORNEYS-IN-CHARGE FOR


                                                9
HOU:3330450.1
  Case 1:13-cv-00435-RC
  Case 2:13-cv-06009-CJB-JCW   Document
                         Document 1 Filed 1-1   FiledPage
                                          07/01/13    10/07/13    Page
                                                           10 of 10    10 of#:267
                                                                    PageID     10




Jeffrey Bossert Clark                            DEFENDANTS BP EXPLORATION &
Dominic E. Draye                                 PRODUCTION INC., BP AMERICA
KIRKLAND & ELLIS LLP                             PRODUCTION COMPANY, AND BP
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jeffrey.clark@kirkland.com
dominic.draye@kirkland.com

                               CERTIFICATE OF SERVICE

        I hereby certify that true and correct copies of the above and foregoing instrument have
been served pursuant to the Federal Rules of Civil Procedure on all parties and counsel of record
on this 1st day of July 2013.

                                                                   /s/ Thomas W. Taylor
                                                                   Thomas W. Taylor




                                               10
HOU:3330450.1
  Case 1:13-cv-00435-RC
  Case 2:13-cv-06009-CJB-JCW   Document
                         Document        1-107/01/13
                                  1-1 Filed    Filed 10/07/13
                                                      Page 1 of 2Page 11 of#:267
                                                                  PageID      11



                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  BEAUMONT DIVISION

JBS PACKING COMPANY, ET AL.,                 §
                                             §
      Plaintiffs,                            §
                                             §
vs.                                          §
                                             §
BP EXPLORATION & PRODUCTION                  §               1:13-cv-435
                                                   C.A. NO: ________________
INC., BP AMERICA PRODUCTION                  §
COMPANY, BP CORPORATION NORTH                §
AMERICA INC., BP PLC, TRANSOCEAN             §
OFFSHORE DEEPWATER DRILLING                  §
INC., TRANSOCEAN HOLDINGS LLC,               §
TRANSOCEAN DEEPWATER INC.,                   §
TRANSOCEAN LTD., TRITON ASSET                §
LEASING GMBH, HALLIBURTON                    §
ENERGY SERVICES INC., AND SPERRY             §
DRILLING SERVICES,                           §
                                             §
        Defendants.                          §


                              INDEX OF DOCUMENTS BEING
                            FILED WITH NOTICE OF REMOVAL


Civil Cover Sheet

List of Counsel of Record

Exhibits to the Notice of Removal                                       Exhibit

Plaintiffs’ Original Petition                                             A

Defendants BP Exploration & Production Inc., BP America Production        B
Company, and BP Corporation North America Inc.’s Original Answer

Defendant Halliburton Energy Service Inc.’s Original Answer               C

Civil Process Documents                                                   D

Jefferson County Docket Sheet                                             E



HOU:3330434.1
  Case 1:13-cv-00435-RC
  Case 2:13-cv-06009-CJB-JCW   Document
                         Document        1-107/01/13
                                  1-1 Filed    Filed 10/07/13
                                                      Page 2 of 2Page 12 of#:267
                                                                  PageID      12



Defendants Transocean Offshore Deepwater Drilling Inc., Transocean         F
Holdings LLC, Transocean Deepwater Inc., Transocean Ltd., and
Triton Asset Leasing GmbH’s Consent to Removal

Defendants Halliburton Energy Service Inc. and Sperry Drilling Services’   G
Consent to Removal

Notice of Removal of State Court Action                                    H




HOU:3330434.1
                    Case1:13-cv-00435-RC
                    Case 2:13-cv-06009-CJB-JCW  Document
                                          Document         1-1
                                                   1-2 Filed     Filed 10/07/13
                                                             07/01/13              Page
                                                                        Page 1 of 13    13 of#:267
                                                                                     PageID      13
JS 44 (Rev. 11/04)
                                                                                      CIVIL COVER SHEET
   The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
   by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
   the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)
I. (a)            PLAINTIFFS                                                                                         DEFENDANTS
                  JBS Packing Company, et al.                                                                        BP Exploration & Production Inc. et al.

       (b)        County of Residence of First Listed Plaintiff                            unknown                   County of Residence of First Listed Defendant
                        (EXCEPT IN U.S. PLAINTIFF CASES)                                                                            (IN U.S. PLAINTIFF CASES ONLY)

       (c)        Attorneys (Firm Name, Address, and Telephone Number)                                                     NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF THE
                                                                                                                                       LAND INVOLVED. DEFENDANTS
              Brent W. Coon
              State Bar No. 04769750                                                                                              Thomas W. Taylor
              Eric W. Newell                                                                                                      Texas Bar No. 19723875; Federal ID 3906
              State Bas No. 24046521                                                                                              600 Travis Street, Suite 4200, Houston, Texas 77002
              Brent Coon & Associates                                                                                             Telephone: 713-220-4200
              215 Orleans                                                                                                         Facsimile: 713-220-4285
              Beaumont, Texas 77701
              (409) 835-2666                                                                                                      See “LIST OF COUNSEL OF RECORD” for additional counsel
              (409) 835-1912 (fax)

                  See “LIST OF COUNSEL OF RECORD” for additional counsel
II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                                  III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                                      (For Diversity Cases Only)                                   and One Box for Defendant)
         1      U.S. Government                3      Federal Question                                                                   PTF       DEF            Incorporated or Principal Place          PTF       DEF
                 Plaintiff                            (U.S. Government Not a Party)                       Citizen of This State             1        1            of Business in This State                   4        4

         2      U.S. Government                4      Diversity                                           Citizen of Another State           2             2      Incorporated and Principal Place             5            5
                 Defendant                            (Indicate Citizenship of Parties in Item III)                                                                of Business in Another State


                                                                                                          Citizen or Subject of a            3            3       Foreign Nation                               6            6
                                                                                                           Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)
               CONTRACT                                                 TORTS                                     FORFEITURE/PENALTY                          BANKRUPTCY                     OTHER STATUTES
   110       Insurance                      PERSONAL INJURY                    PERSONAL INJURY                    610 Agriculture                         422 Appeal 28 USC 158           400 State Reapportionment
   120       Marine                           310 Airplane                        362 Personal Injury-            620 Other Food & Drug                   423 Withdrawal                  410 Antitrust
   130       Miller Act                       315 Airplane Product                    Med. Malpractice            625 Drug Related Seizure                    28 USC 157                  430 Banks and Banking
   140       Negotiable Instrument                Liability                                                           of Property 21 USC 881                                              450 Commerce
   150       Recovery of Overpayment                                              365 Personal Injury-            630 Liquor Laws                                                         460 Deportation
                                              320 Assault, Libel &                    Product Liability                                               PROPERTY RIGHTS
             & Enforcement of Judgment            Slander                                                         640 R.R. & Truck                                                        470 Racketeer Influenced and
   151       Medicare Act                                                         368 Asbestos Personal           650 Airline Regs.                       820 Copyrights                      Corrupt Organizations
                                              330 Federal Employers’
   152       Recovery of Defaulted                Liability                           Injury Product              660 Occupational                        830 Patent                      480 Consumer Credit
             Student Loans                    340 Marine                              Liability                       Safety/Health                       840 Trademark                   490 Cable/Sat TV
             (Excl. Veterans)                 345 Marine Product               PERSONAL PROPERTY                  690 Other                                                               810 Selective Service
   153       Recovery of Overpayment              Liability                       370 Other Fraud                                                                                         850 Securities/Commodities/
             of Veteran’s Benefits            350 Motor Vehicle                   371 Truth in Lending                     LABOR                      SOCIAL SECURITY                         Exchange
   160       Stockholders’ Suit               355 Motor Vehicle                   380 Other Personal                                                                                      875 Consumer Challenge
   190       Other Contract                                                                                       710 Fair Labor Standards                861 HIA (1395ff)                    12 USC 3410
                                                  Product Liability                   Property Damage
   195       Contract Product Liability                                                                               Act                                 862 Black Lung (923)            890 Other Statutory Actions
                                              360 Other Personal                  385 Property Damage
   196       Franchise                                                                                            720 Labor/Mgmt. Relations                                               891 Agricultural Acts
                                                  Injury                              Product Liability                                                   863 DIWC/DIWW
                                                                                                                  730 Labor/Mgmt. Reporting                                               892 Economic Stabilization Act
                                                                                                                      & Disclosure Act                        (405(g))
         REAL PROPERTY                                                                                                                                                                    893 Environmental Matters
                                                    CIVIL RIGHTS                PRISONER PETITIONS                740 Railway Labor Act                   864 SSID Title XVI              894 Energy Allocation Act
   210       Land Condemnation                441 Voting                          510 Motions to Vacate           790 Other Labor Litigation              865 RSI (405(g))                895 Freedom of Information
   220       Foreclosure                      442 Employment                          Sentence                    791 Empl. Ret. Inc.                                                         Act
   230       Rent Lease & Ejectment           443 Housing/                                                            Security Act                                                        900 Appeal of Fee Determination
                                                                                    Habeas Corpus:                                                   FEDERAL TAX SUITS
   240       Torts to Land                        Accommodations                                                                                                                              Under Equal Access
   245       Tort Product Liability           444 Welfare                         530 General                                                             870 Taxes (U.S. Plaintiff           to Justice
   290       All Other Real Property          445 Amer. w/Disabilities-           535 Death Penalty                                                           or Defendant)               950 Constitutionality of
                                                  Employment                      540 Mandamus & Other                                                    871 IRS—Third Party                 State Statutes
                                              446 Amer. w/Disabilities-           550 Civil Rights                                                            26 USC 7609
                                                  Other                           555 Prison Condition
                                              440 Other Civil Rights

V. ORIGIN (Place an “X” in One Box Only)
                                                                                                                                                                                                     Appeal to District
                                                                                                                                       Transferred from
               Original                   Removed from                    Remanded from                   Reinstated or                                                 Multidistrict                Judge from
   1                               2                               3                                  4                           5    another district            6                          7
               Proceeding                 State Court                     Appellate Court                 Reopened                                                      Litigation                   Magistrate
                                                                                                                                       (specify)
                                                                                                                                                                                                     Judgment
                                                   Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                                   Oil Pollution Act of 1990, 33 U.S.C. § 2701, et seq.
VI.          CAUSE OF ACTION
                                                   Brief description of cause: Claims arising out of operation of the Deepwater Horizon in the Gulf of Mexico
VII. REQUESTED IN                                      CHECK IF THIS IS A CLASS ACTION                                DEMAND                                               CHECK YES only if demanded in complaint
      COMPLAINT:                                       UNDER F.R.C.P. 23                                             UNSPECIFIED                                           JURY DEMAND:         Yes         No

VIII. RELATED CASE(S)                              (See instructions)
      IF ANY                                                             JUDGE                SEE ATTACHED                                         DOCKET NUMBER                      2:10-md-02179

DATE                                                        SIGNATURE OF ATTORNEY OF RECORD
July 1, 2013                                               s/Thomas W. Taylor
FOR OFFICE USE ONLY

RECEIPT                                       AMOUNT                                        APPLYING IFP                               JUDGE                                          MAG. JUDGE
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 2 of 13    14 of#:267
                                                                     PageID      14



                                      CIVIL COVER SHEET
                                VIII. RELATED CASE(S) IF ANY

     21 Group Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-134; In the
      United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Gregg Costa. Transferred to MDL 2179 E.D. Louisiana 5/1/2013.

     James Aaron, et al. v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-1433, In
      the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Gray H. Miller.

     Action Restoration, Inc. v. BP America Inc., et al., Civil Action No. 1:12-cv-00240, In the
      United States District Court for the Eastern District of Texas, Beaumont Division, Honorable
      Ron Clark.

     Juan J. Aguilar, et al, v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00215, In the
      United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Kenneth M. Hoyt.

     Jesus F. Ahumada, et al. v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-
      01427, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Stephen Wm. Smith.

     James Allen, et al. v. BP America Production Company; Civil Action No. 4:12-cv-03506, In
      the United States District Court for the Southern District of Texas, Brownsville Division,
      Honorable Sim Lake.

     Alpasito, Inc., et al, v. BP Company North America Inc., et al, Civil Action No. 1:10-cv-
      00236, In the United States District Court for the Southern District of Texas, Brownsville
      Division, Honorable Hilda G. Tagle.

     Jack Arias, et al, v. BP Company North America Inc., et al, Civil Action No. 3:10-cv-00353,
      In the United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Kenneth M. Hoyt.

     Benny Arispe, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
      03197, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Nancy F. Atlas.

     Oleander Benton and Gregory Luke Meche v. Transocean, Ltd., et al, Civil Action No. 4:10-
      cv-02765, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Lynn N. Hughes.




HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 3 of 13    15 of#:267
                                                                     PageID      15



     Kevin D. Brannon, et al. vs. BP America Production Company, Civil Action No. 4:11-cv-
      04055, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Nancy F. Atlas.

     Breathwit Marine Contractors Ltd. v BP Exploration & Production Inc.; Civil Action No.
      3:13-cv-00129; In the United States District Court for the Southern District of Texas,
      Galveston Division, Honorable Gregg Costa.

     BP Exploration & Production Inc., et al. v. Halliburton Energy Services, Inc., Civil Action
      No. 4:11-cv-01526, In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Sim Lake.

     Douglas Harold Brown, et al. v. BP Exploration & Production Inc., et al.; Civil Action No.
      4:11-2510; In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Keith P. Ellison.

     Le Bui, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-01657,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Lynn N. Hughes.

     Oscar Bui, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-
      00472, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Vanessa D. Gilmore.

     Tien Duc Bui, et al. v. BP p.l.c.; Civil Action No. 4:13-cv-01123; In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable David
      Hittner.

     Captain Bubba v BP Exploration & Production Inc.; Civil Action No. 3:13-cv-00133; In the
      United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Gregg Costa.

     Abelardo Carbajal v. BP Products North America Inc., Civil Action No. 3:11-cv-00379, In
      The United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Kenneth Hoyt.

     Michael Chatman, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-
      cv-04329, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Kenneth Hoyt.

     M.P. Cheng, et al, V. BP Company North America Inc., et al, Civil Action No. 4:10-cv-
      02717, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Lynn N. Hughes.


                                               -2-
HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 4 of 13    16 of#:267
                                                                     PageID      16



     Samuel Chernin, et al, v. BP Company North America et al, Civil Action No. 3:10-cv-00350,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Kenneth M. Hoyt.

     Alberto Tecun Chimin v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00212, In the
      United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Kenneth M. Hoyt.

     Shun Y. Chu, et al, v. BP, PLC. et al, Civil Action No. 4:10-cv-01972, In the United States
      District Court for the Southern District of Texas, Honorable Lee H. Rosenthal.

     City of Galveston, Texas v BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
      00128; In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Gregg Costa.

     City of South Padre Island v BP Exploration & Production Inc., et al.; Civil Action No. 1:13-
      cv-00249; In the United States District Court for the Eastern District of Texas, Beaumont
      Division, Honorable Ron Clark.

     Charles J. Contegni, Jr., d/b/a Chips Shrimp, Inc., individually and on behalf of those
      similarly situated, v. Transocean Ltd, et al, Civil Action No. 4:10-cv-01989, In the United
      States District Court for the Southern District of Texas, Houston Division, Honorable Lynn
      N. Hughes.

     Billy Coon, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 3:10-cv-
      00290, In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Kenneth M. Hoyt.

     Marcus L. Craft, et al. v. BP p.l.c., et al.; Civil Action No. 3:13-cv-00123; In the United
      States District Court for the Southern District of Texas, Galveston Division, Honorable
      Gregg Costa.

     Derek Crayton d/b/a Total Truck and Trailer LLC, et al. v. BP plc, Civil Action No. 4:13-cv-
      01095; In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Lee H. Rosenthal.

     Nyoka Curtis, as Next Friend of Treavor Ray Curtis, a Minor, et al v. BP Exploration &
      Production Inc., et al, Civil Action No. 4:11-cv-02231, In the United States District Court for
      the Southern District of Texas, Houston Division, Honorable Lee H. Rosenthal.

     Nyoka Curtis, as next friend of Treavor Ray Curtis, a minor, et al. v. BP America Production
      Company; Civil Action No. 4:13-cv-1533, In the United States District Court for the
      Southern District of Texas, Houston Division, Honorable Kenneth Hoyt.


                                                 -3-
HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 5 of 13    17 of#:267
                                                                     PageID      17



     Matthew Davis, et al, v. Cameron International Corp., et al, Civil Action No. 4:10-cv-01852,
      In the United States District Court for the Southern District of Texas, Honorable Sim Lake.

     Declor USA Inc. v. BP p.l.c., et al., Civil Action No. 4:13-cv-01101; In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

     Liem V. Do, et al, v. BP Exploration & Production Inc., et al, Civil Action No.
      4:10-cv-02256, In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable David Hittner.

     Steve Dorst, et al. vs. BP Exploration & Production Inc., et al., Civil Action No. 4:12-cv-
      00832, In the United States District Court for the Southern District of Texas, Houston
      Division, Keith P. Ellison.

     Tran Ngoc Dung, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
      02129, In the Southern District of Texas, Houston Division, Honorable Sim Lake.

     Ecco Solutions, et al, v. BP Company North America Inc., et al, Civil Action No. 3:10-cv-
      00354, In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Kenneth M. Hoyt.

     Daniel Edison, et al. v. BP Exploration & Production Inc., et al.; Civil Action No. 4:13-cv-
      01431, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Frances H. Stacy.

     Endeavour Marina Clear Lake LP v. BP Exploration & Production Inc.; Civil Action No.
      3:13-cv-00142; In the United States District Court for the Southern District of Texas,
      Galveston Division, Honorable Gregg Costa.

     Esquivel v. BP Company North America Inc., et al, Civil Action No. 1:10-cv-00227, In the
      United States District Court for the Southern District of Texas, Brownsville Division,
      Honorable Hilda G. Tagle.

     Shane Faulk v. Transocean, Ltd., et al, Civil Action No. 4:10-cv-02766, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Kenneth M.
      Hoyt.

     Galveston.com & Company Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-
      cv-00135; In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Gregg Costa.

     Galveston Development Corp. d/b/a A&N Properties LLC v. BP Exploration & Production
      Inc.; Civil Action No. 3:13-cv-00139; In the United States District Court for the Southern
      District of Texas, Galveston Division, Honorable Gregg Costa.

                                                -4-
HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 6 of 13    18 of#:267
                                                                     PageID      18



     Galveston Party Boats Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
      00140; In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Gregg Costa.

     Galveston Seawall Motel Ltd. v. BP Exploration & Production Inc.; Civil Action No. 3:13-
      cv-00144; In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Gregg Costa.

     Garcia Enterprises Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
      00131; In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Gregg Costa.

     Raymond Gore, et al v. BP Company North America Inc., et al, Civil Action No. 3:10-cv-
      00486, In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Kenneth M. Hoyt.

     Guindon v. BP PLC, et al, Civil Action No. 3:10-cv-00317, In the United States District
      Court for the Southern District of Texas, Galveston Division, Honorable Kenneth M. Hoyt.

     Gulf King Services, Inc. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-
      cv-00312, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable David Hittner.

     Gulf of Mexico Reef Fish Shareholders’ Alliance v. BP Exploration & Production Inc.; Civil
      Action No. 3:13-cv-00138; In the United States District Court for the Southern District of
      Texas, Galveston Division, Honorable Gregg Costa.

     Halliburton Energy Services, Inc. v. BP Exploration & Production Inc., Civil Action No.
      4:11-cv-01687, In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Sim Lake.

     Halliburton Energy Services, Inc. v. BP Exploration & Production Inc., et al., Civil Action
      No. 4:11-cv-03392, In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Keith P. Ellison.

     HESTA Super Fund v. BP p.l.c., et al., Civil Action No. 4:13-cv-00129, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Nancy F.
      Atlas.

     David Hogan, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:12-cv-
      01608, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Magistrate Judge Frances H. Stacy.



                                                -5-
HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 7 of 13    19 of#:267
                                                                     PageID      19



     Humble Lodging, LLC et al. v. BP Exploration & Production Inc., et al.; Civil Action No.
      1:13-cv-00248; In the United States District Court for the Eastern District of Texas,
      Beaumont Division, Honorable Ron Clark.

     In Re The Complaint and Petition of Triton Asset Leasing GmbH, Transocean Holdings LLC,
      Transocean Offshore Deepwater Drilling Inc., and Transocean Deepwater Inc., as Owner,
      Managing Owners, Owners Pro-Hac Vice, And/or Operators of the MODU Deepwater
      Horizon, in a Cause for Exoneration from or Limitation of Liability, Civil Action No.
      4:10-cv-01721, In the United States District Court for the Southern District of Texas,
      Houston, Honorable Keith Ellison.

     Lance John v. Transocean, Ltd., et al, Civil Action No. 4:10-cv-02947, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable David
      Hittner.

     Brad Jones, et al, v. Cameron International Corporation, et al, Civil Action No.
      4:10-CV-2354, In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Sim Lake.

     Kahala Development LP v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
      00132; In the United States District Court for the Southern District of Texas, Galveston
      Division, Honorable Gregg Costa.

     Peggy Kemp vs. BP Exploration & Production Inc., et al., Civil Action No. 4:12-cv-01989,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable David Hittner.

     Peggy Kemp, Individually, and in her capacity as the surviving natural mother of Roy Wyatt
      Kemp, Deceased v. BP America Production Company; Civil Action No. 4:13-cv-01535, In
      the United States District Court for the Southern District of Texas, Houston division,
      Honorable Nancy F. Atlas.

     Yancy Keplinger v. BP Exploration & Production Inc., et al.; Civil Action No. 4:13-cv-1564,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Lee H. Rosenthal.

     William Kibby vs. BP PLC., et al., Civil Action No. 3:12-cv-00102, In the United States
      District Court for the Southern District of Texas, Galveston Division, Honorable Kenneth M.
      Hoyt.

     Hank J. Kiff vs. BP America Production Company, Civil Action No. 4:12-cv-3179; In the
      United States District Court for the Southern District of Texas, Houston Division, Honorable
      Stephen W. Smith.


                                                -6-
HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 8 of 13    20 of#:267
                                                                     PageID      20



     Tracy Kleppinger v. Transocean Offshore Deepwater Drilling, Inc., et al, Civil Action No.
      4:10-cv-01851, In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Nancy F. Atlas.

     Joshua Kritzer, et al, v. BP America Inc., et al, Civil Action No. 4:10-cv-01854, In the
      United States District Court for the Southern District of Texas, Houston Division, Honorable
      Sim Lake.

     Roy Lam, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02261, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable David
      Hittner.

     An V Le, et al. v. BP PLC, Civil Action No. 1:13-cv-00244, In the United States District
      Court for the Eastern District of Texas, Beaumont Division, Honorable Thad Heartfield.

     Linda Trang Tran, et al. v. BP Exploration and Production Inc., et al.; Civil Action No.
      4:13-cv-01785; In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Melinda Harmon.

     Duc Trong Le, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01971, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

     Thum M. Le, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01970, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Lynn N.
      Hughes.

     Tien Le, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02619, In the United States District
      Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

     Trung Le, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-01397,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Kenneth M. Hoyt.

     Richard M. Leagre, individually and on behalf of those similarly situated, v. BP PLC, et al,
      Civil Action No. 4:10-cv-02446, In the United States District Court for the Southern District
      of Texas, Houston Division, Honorable Lynn N. Hughes.

     Loggerhead Holdings Inc., et al. v. BP Exploration & Production Inc.; Civil Action No.
      4:13-cv-01128; In the United States District Court for the Southern District of Texas,
      Houston Division, Honorable Melinda Harmon.

     A. Binh Luu, et al. v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-
      01660, In the United States District Court for the Southern District of Texas, Houston
      Division, Honorable Nancy F. Atlas.

                                                 -7-
HOU:3083235.1
    Case1:13-cv-00435-RC
    Case 2:13-cv-06009-CJB-JCW  Document
                          Document         1-1
                                   1-2 Filed     Filed 10/07/13
                                             07/01/13              Page
                                                        Page 9 of 13    21 of#:267
                                                                     PageID      21



     Amelia Mai, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02621, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Lee H.
      Rosenthal.

     Malin International Ship Repair & Drydock Inc. v. BP Exploration & Production Inc.; Civil
      Action No. 3:13-cv-00130; In the United States District Court for the Southern District of
      Texas, Galveston Division, Honorable Gregg Costa.

     Paul Meinhart v. BP Exploration & Production Inc., et al., Civil Action No. 4:11-cv-00073,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Lee H. Rosenthal.

     Morales v. BP Exploration & Production Inc. et al, Civil Action No. 3:10-cv-00477, In the
      United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Kenneth M. Hoyt.

     Patrick Morgan et al, v. Transocean Ltd., et al, Civil Action No. 4:10-cv-04926, In the
      United States District Court for the Southern District of Texas, Houston Division, Honorable
      Nancy F. Atlas.

     The National Vietnamese American Fishermen Emergency Association, et al, v. BP PLC, et
      al, Civil Action No. 4:10-cv-01607, In the United States District Court for the Southern
      District of Texas, Houston Division, Honorable Lynn Hughes.

     Ben Nelson and Jeri Nelson, d/b/a Jeri's Seafood, Inc., et al, v. Transocean Ltd, et al, Civil
      Action No. 3:10-cv-00172, In the United States District Court for the Southern District of
      Texas, Houston Division, Honorable Kenneth M. Hoyt.

     Keit Ngo, et al, v. BP Exploration & Production, Inc. et al, Civil Action No. 4:10-cv-03071,
      In the United States District Court for the Southern District of Texas, Houston Division,
      Honorable Keith P. Ellison.

     Nguyen, et al. v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-01143; In the
      United States District Court for the Southern District of Texas, Houston Division, Honorable
      Lee H. Rosenthal.

     Ann H. Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02259, In the United States
      District Court for the Southern District of Texas, Houston Division, Honorable Nancy F.
      Atlas.

     Bao Van Nguyen v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-00143, In
      the United States District Court for the Southern District of Texas, Galveston Division,
      Honorable Gregg Costa.


                                                 -8-
HOU:3083235.1
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-2 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 10 of 13   22 of #:
                                                                  PageID  26722




   Cheiu H. Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02625, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Ewing
    Werlein, Jr.

   Cindy T. Nguyen, et al. v. BP PLC, et al, Civil Action No. 4:10-cv-02030, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Lee H.
    Rosenthal.

   Cuch Nguyen, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
    02484, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Dong Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01969, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Kenneth M.
    Hoyt.

   Dong Van Nguyen v. BP Exploration & Production Inc., et al.; Civil Action No. 4:12-cv-
    03059, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.

   Dong V. Nguyen vs. BP Exploration & Production Inc.; Deepwater Horizon Oil Spill Trust,
    Civil action No. 4:12-cv-02854, In the United States District Court for the Southern District
    of Texas, Houston Division, Honorable Nancy J. Atlas.

   Susie Nguyen v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-03072, In
    the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Lynn N. Hughes.

   Trinh Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-03068, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Keith P.
    Ellison.

   Xuan V. Nguyen, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-01968, In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable Sim
    Lake.

   Oak Island Seafood, LLC, et al. v. BP Exploration & Production Inc., et al., Civil Action No.
    4:11-cv-03808, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Sim Lake.

   Olympia at Pier 21 Inc. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00136; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.


                                              -9-
HOU:3083235.1
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-2 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 11 of 13   23 of #:
                                                                  PageID  26723




   Pappas Restaurants, Inc. v. Transocean Offshore Deepwater Drilling, Inc., et al, Civil
    Action No. 4:10-cv-01912, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Vanessa Gilmore.

   Manish Patel, Veenalaxmi, LP and Veenalaxmi GP, LLC v. BP Exploration & Production
    Inc., et al.; Civil Action No. 4:13-cv-1912; In the United States District Court for the
    Southern District of Texas, Houston Division, Honorable Ewing Werlein, Jr.

   Photon Factory LLC v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-00141;
    In the United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Gregg Costa.

   Pleasure Island Commission of the City of Port Arthur, Texas v. BP America Inc., et al.,
    Civil Action No. 1:12-cv-00244, In the United States District Court for the Eastern District of
    Texas, Beaumont Division, Honorable Ron Clark.

   Doan V. Pham v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-03346,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Kenneth M. Hoyt.

   Alberto Rojas Rodriguez, et al, v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00221, In
    the United States District Court for the Southern District of Texas, Galveston Division,
    Honorable Kenneth M. Hoyt.

   Sabine Pass Port Authority v. BP America Inc., et al., Civil Action No. 1:12-cv-00245, In the
    United States District Court for the Eastern District of Texas, Beaumont Division, Honorable
    Thad Heartfield.

   Kurt Satchfield, et al, v. BP PLC,, et al, Civil Action No. 4:10-cv-02397, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Sim Lake.

   Kevin P. Senegal v. BP Exploration & Production Inc., et al; Civil Action No. 4:11-cv-1796,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Kenneth M. Hoyt.

   Joe D. Seta, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02448, In the United States
    District Court for the Southern District of Texas, Houston Division, Honorable Kenneth M.
    Hoyt.

   Charles Smith v. BP Company North America Inc., et al, Civil Action No. 4:10-cv-04288, In
    the United States District Court for the Southern District of Texas, Houston Division,
    Honorable David Hittner.




                                               - 10 -
HOU:3083235.1
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-2 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 12 of 13   24 of #:
                                                                  PageID  26724




   Sterling Shipyard, LP v. BP America Inc., et al., Civil Action No. 1:12-cv-00241, In the
    United States District Court for the Eastern District of Texas, Beaumont Division, Honorable
    Marcia Crone.

   Stephen Stone, et al. v. BP Exploration & Production Inc., et al.; Civil Action No. 4:13-cv-
    01671; In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lynn N. Hughes.

   Supply Pro, Inc. vs. BP Exploration and Production, Inc., et al., Civil Action No. 4:12-cv-
    00737, In the United States District Court for the Southern District of Texas, Houston
    Division, Melinda Harmon.

   Tech West LLC, et al. v. BP p.l.c., et al.; Civil Action No. 4:13-cv-01107; In the United
    States District Court for the Southern District of Texas, Houston Division, Honorable
    Kenneth M. Hoyt.

   The City of Houston, Texas v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-
    01130; In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Sim Lake.

   Timmons Restaurant Partners, et al, v. BP Company North America Inc. et al, Civil Action
    No. 4:10-cv-03201, In the United States District Court for the Southern District of Texas,
    Houston Division, Honorable Kenneth M. Hoyt.

   Dora Gastian Todd v. Transocean, Ltd., et al, Civil Action No. 3:10-cv-00213, In the United
    States District Court for the Southern District of Texas, Galveston Division, Honorable
    Kenneth M. Hoyt.

   Buddy Trahan v. BP PLC, et al, Civil Action No. 4:10-cv-03198, In the United States District
    Court for the Southern District of Texas, Houston Division, Honorable Nancy F. Atlas.

   Doahn Tran, et al, v. BP Exploration & Production Inc. et al, Civil Action No. 4:10-cv-
    02897, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Lynn N. Hughes.

   Phong Tran, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02624, In the Southern District
    of Texas, Houston Division, Honorable Lee H. Rosenthal.

   Sang Tran, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-
    03069, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable Nancy F. Atlas.




                                              - 11 -
HOU:3083235.1
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-2 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 13 of 13   25 of #:
                                                                  PageID  26725




   Tam Tran, et al, v. BP Exploration & Production Inc., et al, Civil Action No. 4:10-cv-03070,
    In the United States District Court for the Southern District of Texas, Houston Division,
    Honorable Nancy F. Atlas.

   Thong Tran, et al. v. BP America Inc., et al, Civil Action No. 4:10-cv-02254, In the Southern
    District of Texas, Houston Division, Honorable Lynn N. Hughes.

   Sergio Valdivieso v. Southern Cat, Inc., et al., Civil Action No. 4:12-cv-01018; In the
    Southern District of Texas, Houston Division, Honorable David Hittner.

   Dan A. Van, et al, v. BP PLC, et al, Civil Action No. 4:10-cv-02257, In the Southern District
    of Texas, Houston Division, Honorable Lee H. Rosenthal.

   Tung Vo, et al v. BP PLC, et al, Civil Action No. 4:10-cv-02622, In the United States District
    Court for the Southern District of Texas, Houston Division, Honorable Melinda Harmon.

   Cuong Dinh Vu v. BP Exploration & Production Inc.; Civil Action No. 4:13-cv-01131; In the
    United States District Court for the Southern District of Texas, Houston Division, Honorable
    Lee H. Rosenthal.

   Darrell Walker v. Mc-OO, Inc., et al., Civil Action No. 1:13-cv-257, In the United States
    District Court for the Eastern District of Texas, Beaumont Division, Honorable Ron Clark.

   West Gulf Marine Ltd. v. BP Exploration & Production Inc.; Civil Action No. 3:13-cv-
    00137; In the United States District Court for the Southern District of Texas, Galveston
    Division, Honorable Gregg Costa.

   Keith Woodward, d/b/a S S L International, Inc. v. Transocean, Ltd., et al, Civil Action No.
    3:10-cv-00211, In the United States District Court for the Southern District of Texas,
    Galveston Division, Honorable Kenneth M. Hoyt.

   Worldwide Sorbent Products, Inc. vs. BP Exploration and Production, Inc., et al. Civil
    Action No. 4:12-cv-00705, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Sim Lake.

   Micah Wright, individually and on behalf of those similarly situated, v. BP PLC, et al, Civil
    Action No. 4:10-cv-02088, In the United States District Court for the Southern District of
    Texas, Houston Division, Honorable Lynn N. Hughes.

   Robert Young vs. BP Exploration and Production Inc., et al., Civil Action No. 4:12-cv-
    00989, In the United States District Court for the Southern District of Texas, Houston
    Division, Honorable David Hittner.




                                              - 12 -
HOU:3083235.1
  Case 1:13-cv-00435-RC
  Case 2:13-cv-06009-CJB-JCW   Document
                         Document        1-107/01/13
                                  1-3 Filed    Filed 10/07/13
                                                      Page 1 of 3Page 26 of#:267
                                                                  PageID      26



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               BEAUMONT DIVISION

JBS PACKING COMPANY, ET AL.,            §
                                        §
      Plaintiffs,                       §
                                        §
vs.                                     §
                                        §
BP EXPLORATION & PRODUCTION             §                 1:13-cv-435
                                                C.A. NO: ________________
INC., BP AMERICA PRODUCTION             §
COMPANY, BP CORPORATION NORTH           §
AMERICA INC., BP PLC, TRANSOCEAN        §
OFFSHORE DEEPWATER DRILLING             §
INC., TRANSOCEAN HOLDINGS LLC,          §
TRANSOCEAN DEEPWATER INC.,              §
TRANSOCEAN LTD., TRITON ASSET           §
LEASING GMBH, HALLIBURTON               §
ENERGY SERVICES INC., AND SPERRY        §
DRILLING SERVICES,                      §
                                        §
        Defendants.                     §

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HOU:3330461.1
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  Case 2:13-cv-06009-CJB-JCW   Document
                         Document        1-107/01/13
                                  1-3 Filed    Filed 10/07/13
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HOU:3330461.1
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  Case 2:13-cv-06009-CJB-JCW   Document
                         Document        1-107/01/13
                                  1-3 Filed    Filed 10/07/13
                                                      Page 3 of 3Page 28 of#:267
                                                                  PageID      28



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HOU:3330461.1
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Case  2:13-cv-06009-CJB-JCW
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                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 1 of 173   29 of #:
                                                                  PageID  26729




                            EXHIBIT A
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 2 of 173   30 of #:
                                                                  PageID  26730
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 3 of 173   31 of #:
                                                                  PageID  26731
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 4 of 173   32 of #:
                                                                  PageID  26732
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 5 of 173   33 of #:
                                                                  PageID  26733
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 6 of 173   34 of #:
                                                                  PageID  26734
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 7 of 173   35 of #:
                                                                  PageID  26735
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 8 of 173   36 of #:
                                                                  PageID  26736
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-4 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 9 of 173   37 of #:
                                                                  PageID  26737
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          10 of 173   38 of 267
                                                                    PageID  #: 38
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          11 of 173   39 of 267
                                                                    PageID  #: 39
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          12 of 173   40 of 267
                                                                    PageID  #: 40
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
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                                                          13 of 173   41 of 267
                                                                    PageID  #: 41
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          14 of 173   42 of 267
                                                                    PageID  #: 42
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          15 of 173   43 of 267
                                                                    PageID  #: 43
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          16 of 173   44 of 267
                                                                    PageID  #: 44
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          17 of 173   45 of 267
                                                                    PageID  #: 45
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
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                                                          18 of 173   46 of 267
                                                                    PageID  #: 46
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
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                                                          19 of 173   47 of 267
                                                                    PageID  #: 47
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          20 of 173   48 of 267
                                                                    PageID  #: 48
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          21 of 173   49 of 267
                                                                    PageID  #: 49
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
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                                                          22 of 173   50 of 267
                                                                    PageID  #: 50
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          23 of 173   51 of 267
                                                                    PageID  #: 51
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          24 of 173   52 of 267
                                                                    PageID  #: 52
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          25 of 173   53 of 267
                                                                    PageID  #: 53
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          26 of 173   54 of 267
                                                                    PageID  #: 54
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          27 of 173   55 of 267
                                                                    PageID  #: 55
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Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                          07/01/13   10/07/13    Page
                                                          28 of 173   56 of 267
                                                                    PageID  #: 56
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          29 of 173   57 of 267
                                                                    PageID  #: 57
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Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          30 of 173   58 of 267
                                                                    PageID  #: 58
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Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          31 of 173   59 of 267
                                                                    PageID  #: 59
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          32 of 173   60 of 267
                                                                    PageID  #: 60
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Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          33 of 173   61 of 267
                                                                    PageID  #: 61
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Case   2:13-cv-06009-CJB-JCW
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                                                          34 of 173   62 of 267
                                                                    PageID  #: 62
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          35 of 173   63 of 267
                                                                    PageID  #: 63
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          36 of 173   64 of 267
                                                                    PageID  #: 64
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          37 of 173   65 of 267
                                                                    PageID  #: 65
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          38 of 173   66 of 267
                                                                    PageID  #: 66
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          39 of 173   67 of 267
                                                                    PageID  #: 67
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                                          40 of 173   68 of 267
                                                                    PageID  #: 68
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
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                                          07/01/13   10/07/13    Page
                                                          41 of 173   69 of 267
                                                                    PageID  #: 69
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
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                                                          42 of 173   70 of 267
                                                                    PageID  #: 70
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          43 of 173   71 of 267
                                                                    PageID  #: 71
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          44 of 173   72 of 267
                                                                    PageID  #: 72
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          45 of 173   73 of 267
                                                                    PageID  #: 73
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          46 of 173   74 of 267
                                                                    PageID  #: 74
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          47 of 173   75 of 267
                                                                    PageID  #: 75
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          48 of 173   76 of 267
                                                                    PageID  #: 76
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          49 of 173   77 of 267
                                                                    PageID  #: 77
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          50 of 173   78 of 267
                                                                    PageID  #: 78
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          51 of 173   79 of 267
                                                                    PageID  #: 79
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          52 of 173   80 of 267
                                                                    PageID  #: 80
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          53 of 173   81 of 267
                                                                    PageID  #: 81
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          54 of 173   82 of 267
                                                                    PageID  #: 82
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          55 of 173   83 of 267
                                                                    PageID  #: 83
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          56 of 173   84 of 267
                                                                    PageID  #: 84
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          57 of 173   85 of 267
                                                                    PageID  #: 85
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          58 of 173   86 of 267
                                                                    PageID  #: 86
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          59 of 173   87 of 267
                                                                    PageID  #: 87
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          60 of 173   88 of 267
                                                                    PageID  #: 88
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          61 of 173   89 of 267
                                                                    PageID  #: 89
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          62 of 173   90 of 267
                                                                    PageID  #: 90
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          63 of 173   91 of 267
                                                                    PageID  #: 91
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          64 of 173   92 of 267
                                                                    PageID  #: 92
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          65 of 173   93 of 267
                                                                    PageID  #: 93
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          66 of 173   94 of 267
                                                                    PageID  #: 94
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          67 of 173   95 of 267
                                                                    PageID  #: 95
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          68 of 173   96 of 267
                                                                    PageID  #: 96
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          69 of 173   97 of 267
                                                                    PageID  #: 97
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          70 of 173   98 of 267
                                                                    PageID  #: 98
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          71 of 173   99 of 267
                                                                    PageID  #: 99
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          72 of 173   100 of#:267
                                                                    PageID      100
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          73 of 173   101 of#:267
                                                                    PageID      101
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          74 of 173   102 of#:267
                                                                    PageID      102
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          75 of 173   103 of#:267
                                                                    PageID      103
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          76 of 173   104 of#:267
                                                                    PageID      104
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          77 of 173   105 of#:267
                                                                    PageID      105
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          78 of 173   106 of#:267
                                                                    PageID      106
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          79 of 173   107 of#:267
                                                                    PageID      107
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          80 of 173   108 of#:267
                                                                    PageID      108
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          81 of 173   109 of#:267
                                                                    PageID      109
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          82 of 173   110 of#:267
                                                                    PageID      110
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          83 of 173   111 of#:267
                                                                    PageID      111
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          84 of 173   112 of#:267
                                                                    PageID      112
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          85 of 173   113 of#:267
                                                                    PageID      113
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          86 of 173   114 of#:267
                                                                    PageID      114
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          87 of 173   115 of#:267
                                                                    PageID      115
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          88 of 173   116 of#:267
                                                                    PageID      116
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          89 of 173   117 of#:267
                                                                    PageID      117
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          90 of 173   118 of#:267
                                                                    PageID      118
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          91 of 173   119 of#:267
                                                                    PageID      119
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          92 of 173   120 of#:267
                                                                    PageID      120
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          93 of 173   121 of#:267
                                                                    PageID      121
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          94 of 173   122 of#:267
                                                                    PageID      122
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          95 of 173   123 of#:267
                                                                    PageID      123
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          96 of 173   124 of#:267
                                                                    PageID      124
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          97 of 173   125 of#:267
                                                                    PageID      125
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          98 of 173   126 of#:267
                                                                    PageID      126
 Case
Case   2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC  DocumentDocument
                                1-4 Filed1-1   Filed Page
                                          07/01/13   10/07/13    Page
                                                          99 of 173   127 of#:267
                                                                    PageID      127
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           100 of 173  128 of #:
                                                                              267128
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           101 of 173  129 of #:
                                                                              267129
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           102 of 173  130 of #:
                                                                              267130
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           103 of 173  131 of #:
                                                                              267131
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           104 of 173  132 of #:
                                                                              267132
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           105 of 173  133 of #:
                                                                              267133
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           106 of 173  134 of #:
                                                                              267134
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           107 of 173  135 of #:
                                                                              267135
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           108 of 173  136 of #:
                                                                              267136
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           109 of 173  137 of #:
                                                                              267137
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           110 of 173  138 of #:
                                                                              267138
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           111 of 173  139 of #:
                                                                              267139
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           112 of 173  140 of #:
                                                                              267140
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           113 of 173  141 of #:
                                                                              267141
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           114 of 173  142 of #:
                                                                              267142
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           115 of 173  143 of #:
                                                                              267143
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           116 of 173  144 of #:
                                                                              267144
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           117 of 173  145 of #:
                                                                              267145
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           118 of 173  146 of #:
                                                                              267146
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           119 of 173  147 of #:
                                                                              267147
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           120 of 173  148 of #:
                                                                              267148
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           121 of 173  149 of #:
                                                                              267149
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           122 of 173  150 of #:
                                                                              267150
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           123 of 173  151 of #:
                                                                              267151
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           124 of 173  152 of #:
                                                                              267152
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           125 of 173  153 of #:
                                                                              267153
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           126 of 173  154 of #:
                                                                              267154
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           127 of 173  155 of #:
                                                                              267155
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           128 of 173  156 of #:
                                                                              267156
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           129 of 173  157 of #:
                                                                              267157
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           130 of 173  158 of #:
                                                                              267158
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           131 of 173  159 of #:
                                                                              267159
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           132 of 173  160 of #:
                                                                              267160
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           133 of 173  161 of #:
                                                                              267161
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           134 of 173  162 of #:
                                                                              267162
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           135 of 173  163 of #:
                                                                              267163
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           136 of 173  164 of #:
                                                                              267164
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           137 of 173  165 of #:
                                                                              267165
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           138 of 173  166 of #:
                                                                              267166
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           139 of 173  167 of #:
                                                                              267167
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           140 of 173  168 of #:
                                                                              267168
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           141 of 173  169 of #:
                                                                              267169
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           142 of 173  170 of #:
                                                                              267170
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           143 of 173  171 of #:
                                                                              267171
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           144 of 173  172 of #:
                                                                              267172
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           145 of 173  173 of #:
                                                                              267173
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           146 of 173  174 of #:
                                                                              267174
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           147 of 173  175 of #:
                                                                              267175
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           148 of 173  176 of #:
                                                                              267176
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           149 of 173  177 of #:
                                                                              267177
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           150 of 173  178 of #:
                                                                              267178
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           151 of 173  179 of #:
                                                                              267179
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           152 of 173  180 of #:
                                                                              267180
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           153 of 173  181 of #:
                                                                              267181
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           154 of 173  182 of #:
                                                                              267182
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           155 of 173  183 of #:
                                                                              267183
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           156 of 173  184 of #:
                                                                              267184
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           157 of 173  185 of #:
                                                                              267185
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           158 of 173  186 of #:
                                                                              267186
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           159 of 173  187 of #:
                                                                              267187
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           160 of 173  188 of #:
                                                                              267188
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           161 of 173  189 of #:
                                                                              267189
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           162 of 173  190 of #:
                                                                              267190
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           163 of 173  191 of #:
                                                                              267191
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           164 of 173  192 of #:
                                                                              267192
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           165 of 173  193 of #:
                                                                              267193
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           166 of 173  194 of #:
                                                                              267194
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           167 of 173  195 of #:
                                                                              267195
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           168 of 173  196 of #:
                                                                              267196
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           169 of 173  197 of #:
                                                                              267197
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           170 of 173  198 of #:
                                                                              267198
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           171 of 173  199 of #:
                                                                              267199
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           172 of 173  200 of #:
                                                                              267200
  Case
Case    2:13-cv-06009-CJB-JCW
     1:13-cv-00435-RC   Document Document
                                 1-4 Filed 1-1   FiledPage
                                           07/01/13    10/07/13   PagePageID
                                                           173 of 173  201 of #:
                                                                              267201
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-5 Filed    Filed 10/07/13
                                                    Page 1 of 5Page 202 #:
                                                                PageID  of 267
                                                                           202




                            EXHIBIT B
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-5 Filed    Filed 10/07/13
                                                    Page 2 of 5Page 203 #:
                                                                PageID  of 267
                                                                           203
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-5 Filed    Filed 10/07/13
                                                    Page 3 of 5Page 204 #:
                                                                PageID  of 267
                                                                           204
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-5 Filed    Filed 10/07/13
                                                    Page 4 of 5Page 205 #:
                                                                PageID  of 267
                                                                           205
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-5 Filed    Filed 10/07/13
                                                    Page 5 of 5Page 206 #:
                                                                PageID  of 267
                                                                           206
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-6 Filed    Filed 10/07/13
                                                    Page 1 of 5Page 207 #:
                                                                PageID  of 267
                                                                           207




                            EXHIBIT C
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-6 Filed    Filed 10/07/13
                                                    Page 2 of 5Page 208 #:
                                                                PageID  of 267
                                                                           208
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-6 Filed    Filed 10/07/13
                                                    Page 3 of 5Page 209 #:
                                                                PageID  of 267
                                                                           209
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-6 Filed    Filed 10/07/13
                                                    Page 4 of 5Page 210 #:
                                                                PageID  of 267
                                                                           210
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-6 Filed    Filed 10/07/13
                                                    Page 5 of 5Page 211 #:
                                                                PageID  of 267
                                                                           211
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 1 of 45    212 of
                                                                 PageID #: 267
                                                                            212




                            EXHIBIT D
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 2 of 45    213 of
                                                                 PageID #: 267
                                                                            213
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 3 of 45    214 of
                                                                 PageID #: 267
                                                                            214
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 4 of 45    215 of
                                                                 PageID #: 267
                                                                            215
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 5 of 45    216 of
                                                                 PageID #: 267
                                                                            216
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 6 of 45    217 of
                                                                 PageID #: 267
                                                                            217
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 7 of 45    218 of
                                                                 PageID #: 267
                                                                            218
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 8 of 45    219 of
                                                                 PageID #: 267
                                                                            219
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-1
                               1-7 Filed     Filed 10/07/13
                                         07/01/13              Page
                                                    Page 9 of 45    220 of
                                                                 PageID #: 267
                                                                            220
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 10 of 45   221 of#:267
                                                                  PageID     221
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 11 of 45   222 of#:267
                                                                  PageID     222
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 12 of 45   223 of#:267
                                                                  PageID     223
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 13 of 45   224 of#:267
                                                                  PageID     224
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 14 of 45   225 of#:267
                                                                  PageID     225
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 15 of 45   226 of#:267
                                                                  PageID     226
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 16 of 45   227 of#:267
                                                                  PageID     227
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 17 of 45   228 of#:267
                                                                  PageID     228
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 18 of 45   229 of#:267
                                                                  PageID     229
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 19 of 45   230 of#:267
                                                                  PageID     230
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 20 of 45   231 of#:267
                                                                  PageID     231
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 21 of 45   232 of#:267
                                                                  PageID     232
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 22 of 45   233 of#:267
                                                                  PageID     233
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 23 of 45   234 of#:267
                                                                  PageID     234
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 24 of 45   235 of#:267
                                                                  PageID     235
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 25 of 45   236 of#:267
                                                                  PageID     236
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 26 of 45   237 of#:267
                                                                  PageID     237
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 27 of 45   238 of#:267
                                                                  PageID     238
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 28 of 45   239 of#:267
                                                                  PageID     239
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 29 of 45   240 of#:267
                                                                  PageID     240
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 30 of 45   241 of#:267
                                                                  PageID     241
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 31 of 45   242 of#:267
                                                                  PageID     242
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 32 of 45   243 of#:267
                                                                  PageID     243
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 33 of 45   244 of#:267
                                                                  PageID     244
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 34 of 45   245 of#:267
                                                                  PageID     245
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 35 of 45   246 of#:267
                                                                  PageID     246
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 36 of 45   247 of#:267
                                                                  PageID     247
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 37 of 45   248 of#:267
                                                                  PageID     248
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 38 of 45   249 of#:267
                                                                  PageID     249
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 39 of 45   250 of#:267
                                                                  PageID     250
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 40 of 45   251 of#:267
                                                                  PageID     251
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 41 of 45   252 of#:267
                                                                  PageID     252
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 42 of 45   253 of#:267
                                                                  PageID     253
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 43 of 45   254 of#:267
                                                                  PageID     254
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 44 of 45   255 of#:267
                                                                  PageID     255
 Case1:13-cv-00435-RC
Case  2:13-cv-06009-CJB-JCW
                       DocumentDocument
                                1-7 Filed1-1  Filed 10/07/13
                                          07/01/13             Page
                                                    Page 45 of 45   256 of#:267
                                                                  PageID     256
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-8 Filed    Filed 10/07/13
                                                    Page 1 of 2Page 257 #:
                                                                PageID  of 267
                                                                           257




                            EXHIBIT E
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-8 Filed    Filed 10/07/13
                                                    Page 2 of 2Page 258 #:
                                                                PageID  of 267
                                                                           258
Case 1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW   Document
                       Document        1-107/01/13
                                1-9 Filed    Filed 10/07/13
                                                    Page 1 of 3Page 259 #:
                                                                PageID  of 267
                                                                           259




                            EXHIBIT F
 Case 1:13-cv-00435-RC
 Case 2:13-cv-06009-CJB-JCW   Document
                        Document        1-107/01/13
                                 1-9 Filed    Filed 10/07/13
                                                     Page 2 of 3Page 260 #:
                                                                 PageID  of 267
                                                                            260



                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION

JBS PACKING COMPANY,                            §
ET AL,                                          §
      PLAINTIFFS                                §
                                                §
VS.                                             §
                                                §
BP EXPLORATION AND                              §
PRODUCTION, INC., BP AMERICA                    §
PRODUCTION COMPANY, BP                                            1:13-cv-435
                                                        C.A. NO: ________________
                                                §
CORPORATION NORTH AMERICA,
INC., BP PLC, TRANSOCEAN                        §
DEEPWATER INC., TRANSOCEAN                      §
OFFSHORE DEEPWATER DRILLING                     §
INC., TRANSOCEAN HOLDINGS                       §
LLC., TRANSOCEAN LTD., TRITON
ASSET LEASING GMBH,                             §
HALLIBURTON ENERGY SERVICES,                    §
INC. AND SPERRY DRILLING                        §
SERVICES,                                       §
                                                §
      DEFENDANTS.

                                 CONSENT TO REMOVAL

       Defendants Transocean Deepwater Inc., Transocean Offshore Deepwater Drilling Inc.,

Transocean Holdings LLC, and Triton Asset Leasing GmbH, pursuant to 28 U.S.C. § 1446,

hereby give notice that they consent to the Notice of Removal filed by the BP Defendants.

Subject to, and without waiving its Rule 12(b)(2) defense, Transocean Ltd. hereby gives notice

that it consents to the Notice of Removal filed by the BP Defendants.

Dated: June 27, 2013

                                            Respectfully submitted,


                                            By: /s/ John M. Elsley
                                               John M. Elsley
                                               State Bar No. 06591950
 Case 1:13-cv-00435-RC
 Case 2:13-cv-06009-CJB-JCW   Document
                        Document        1-107/01/13
                                 1-9 Filed    Filed 10/07/13
                                                     Page 3 of 3Page 261 #:
                                                                 PageID  of 267
                                                                            261



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                                    DEEPWATER INC., TRANSOCEAN OFFSHORE
                                    DEEPWATER DRILLING INC., TRANSOCEAN
                                    HOLDINGS LLC, TRANSOCEAN LTD, AND
                                    TRITON ASSET LEASING GMBH




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Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-107/01/13
                               1-10 Filed    Filed 10/07/13
                                                     Page 1 of Page 262 of
                                                               3 PageID #: 267
                                                                            262




                            EXHIBIT G
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-107/01/13
                               1-10 Filed    Filed 10/07/13
                                                     Page 2 of Page 263 of
                                                               3 PageID #: 267
                                                                            263



                                      UNITED STATES DISTRICT COURT
                                       EASTERN DISTRICT OF TEXAS
                                           BEAUMONT DIVISION

JBS PACKING COMPANY, ET AL.,                               §
      Plaintiffs,                                          §
V.
                                                           §
                                                           §
BP EXPLORATION & PRODUCTION,                               §
INC.,                                                      §
BP AMERICA PRODUCTION COMPANY,                                                1:13-cv-435
                                                                    C.A. NO: ________________
                                                           §
BP CORPORATION NORTH AMERICA,
                                                           §
INC., BP PLC, TRANSOCEAN OFFSHORE
                                                           §        On removal from the 136th Judicial
DEEPWATER DRILLING, INC.,                                           District Court, Jefferson County,
TRANSOCEAN HOLDINGS, LLC,                                  §
                                                           §        Texas: Case No. D194-272
TRANSOCEAN DEEPWATER, INC.,
TRANSOCEAN LTD., TRITON ASSET                              §
LEASING GMBH, HALLIBURTON                                  §
ENERGY SERVICES, AND SPERRY                                §
DRILLING SERVICES,                                         §
         Defendants.                                       §

                  DEFENDANT HALLIBURTON ENERGY SERVICES INC.’S
                         CONSENT TO NOTICE OF REMOVAL

         Defendant Halliburton Energy Services, Inc.1, pursuant to 28 U.S.C. § 1446, without

waiving, and specifically reserving, all rights, defenses, objections, and exceptions, hereby gives

notice that it consents to the Notice of Removal filed by the BP Defendants.

Dated: July 01, 2013




1
  Sperry Drilling Services ("Sperry"), has been improperly named as a defendant in this matter. Sperry was
dissolved in October 1997 and its assets and liabilities were ultimately transferred to HESI in January 1999. Today,
Sperry operates as a product service line of HESI, not as a separate legal entity or division. To the extent consent to
removal is necessary on behalf of Sperry as a named defendant, HESI consents to the removal.



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Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-107/01/13
                               1-10 Filed    Filed 10/07/13
                                                     Page 3 of Page 264 of
                                                               3 PageID #: 267
                                                                            264



                                    Respectfully submitted,

                                    GODWIN LEWIS PC

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2191151 v1-24010/0002 PLEADINGS
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-107/01/13
                               1-11 Filed    Filed 10/07/13
                                                     Page 1 of Page 265 of
                                                               3 PageID #: 267
                                                                            265




                            EXHIBIT H
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-107/01/13
                               1-11 Filed    Filed 10/07/13
                                                     Page 2 of Page 266 of
                                                               3 PageID #: 267
                                                                            266
Case1:13-cv-00435-RC
Case 2:13-cv-06009-CJB-JCW  Document
                      Document         1-107/01/13
                               1-11 Filed    Filed 10/07/13
                                                     Page 3 of Page 267 of
                                                               3 PageID #: 267
                                                                            267
